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 3 SACRAMENTO, CALIFORNIA 95825
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 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                CR. NO. S-08-0093-FCD
10                                  )
          PLAINTIFF,                )                STIPULATION AND ORDER
11                                  )                TO CONTINUE THE STATUS
          v.                        )                CONFERENCE TO MONDAY
12                                  )                SEPTEMBER 27, 2010
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     _______________________________)
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorneys Ms. Ellen Endrizzi, and Mr. Matthew C. Stegman
18   and the defendants (hereinafter referred to as the defendants): 1-Charles Head,
19   represented by attorney, Mr. Scott L. Tedmon; 2-Jeremy Head, represented by
20   attorney, Mr. Christopher Hayden-Myer; 3- Leonard Bernot, represented by attorney,
21   Mr. Bruce Locke; 4- Joshua Coffman, represented by attorney Mr. John P. Balazs;
22   5- John Corcoran, represented by attorney, Mr. Matthew C. Bockmon; 6- Sarah
23   Mattson, represented by attorney, Mr. Joseph J. Wiseman; 7- Omar Sandoval,
24   represented by attorney, Mr. Michael B. Bigelow; 8- Xochitl Sandoval, represented by
25   attorney, Ms. Candace A. Fry; 9- Kou Yang, represented by attorney, Mr. Joseph
26   Low, IV; and 10-Domonic McCarns, represented by attorney, Mr. James R. Greiner,
27   hereby agree and stipulate that the current date for the status conference currently set
28                                               1
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 1   for, Monday, May 24, 2010, is hereby vacated and can be rescheduled for Monday,
 2   September 27, 2010, at 10:00 a.m. in Courtroom #2 before the Honorable District
 3   Court Judge, Frank C. Damrell, Jr..
 4         Further, all of the parties, the United States of America and all of the defendants
 5   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 6   excluded under Title 18 section 3161(h)(7)(B)(ii) and section 3161(h)(7)(B)(iv),
 7   corresponding to Local code T-2 (the complexity of the case) and Local Code T-4 (to
 8   allow defense counsel reasonable time to prepare and continuity of counsel).
 9         The government has produced over 290,000 pages of discovery to defense
10   counsel. All defense counsel are in the process of reviewing this material, meeting
11   with their respective clients and going over the discovery with their clients. All
12   defense counsel need additional time to continue that process. In addition, all defense
13   counsel need additional time as they research to identify potential legal issues.
14         The parties agree and stipulate that, the interest of justice in granting this
15   reasonable request for a continuance outweighs all other interests in this case for a
16   speedy trial in this case, pursuant to Title 18 section 3161(h)(7)(B)(ii) and section
17   3161(h)(7)(B)(iv), corresponding to Local code T-2 (the complexity of the case) and
18   Local Code T-4 (to allow defense counsel reasonable time to prepare and for
19   continuity of defense counsel).
20         The Court’s Courtroom deputy, Ms. Michele Krueger, was contacted to ensure
21   the Court was available on Monday, September 27, 2010, and the Court is available.
22         Respectfully submitted:
23                                     BENJAMIN B. WAGNER
                                       UNITED STATES ATTORNEY
24
                                       /s/ Ellen Endrizzi by e mail authorization
25
     DATED: 5-19-10                    _____________________________________
26                                     Ellen Endrizi
                                       ASSISTANT UNITED STATES ATTORNEY
27                                     ATTORNEY FOR THE PLAINTIFF
28                                                2
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 1   DATED: 5-19-10
                                 /s/ Scott Tedmon by telephone authorization
 2                               ______________________________________
                                 Scott Tedmon
 3                               Attorney for Defendant Charles Head
 4   DATED: 5-19-10              /s/ Christopher Hayden-Myer by telephone
                                 authorization
 5                               _______________________________________
                                 Christopher Hayden-Myer
 6                               Attorney for Defendant Jeremy Head
 7   DATED: 5-19-10              /s/ Bruce Locke by e mail authorization
                                 _____________________________________
 8                               Bruce Locke
                                 Attorney for Defendant Leonard Bernot
 9
     DATED: 5-19-10              /s/ John Balazs by e mail authorization
10                               ______________________________________
                                 John Balazs
11                               Attorney for Defendant Joshua Coffman
12   DATED: 5-19-10              /s/ Matthew Bockmon by e mail authorization
                                 ______________________________________
13                               Matthew Bockmon
                                 Attorney for Defendant John Corcoran
14
     DATED: 5-19-10              /s/ Joseph Wiseman by telephone authorization
15                               ____________________________________
                                 Joseph Wiseman
16                               Attorney for Defendant Sarah Mattson
17   DATED: 5-19-10              /s/Michael Bigelow by telephone authorization
                                 ________________________________________
18                               Michael Bigelow
                                 Attorney for Defendant Omar Sandoval
19
     DATED: 5-19-10              /s/ Candace Fry by telephone authorization
20                               ______________________________________
                                 Candace Fry
21                               Attorney for Defendant Xochitl Sandoval
22   DATED: 5-19-10              /s/ Joseph Low, IV by telephone authorization
                                 ______________________________________
23                               Joseph Low, IV
                                 Attorney for Defendant Kou Yang
24
     DATED: 5-19-10              /s/ James R. Greiner
25                               ___________________________________
                                 James R. Greiner
26                               Attorney for Defendant Dominic McCarns
27
28                                         3
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 1                                           ORDER
 2
           Based upon the representations of counsel, the record in this case, and the
 3
     agreements and stipulations between counsel in the case, and that
 4
           The parties agree and stipulate that this Court can make the appropriate findings
 5
     supported by the record in this case that this case is complex pursuant to the Speedy
 6
     Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
 7
     the Court to make the finding that this case is so unusual or so complex, due to the
 8
     nature of the prosecution, and/or the existence of novel questions of fact or law,
 9
     and/or, the existence of the amount of discovery (over 290,00 pages of discovery),
10
     that it is unreasonable to expect adequate preparation for pretrial proceedings or the
11
     trial itself within the time limits established by the Speedy Trial Act. In addition, the
12
     Court can make a finding from the record in this case, that time shall also be excluded
13
     under local code T-4, that time is to be excluded for the reasonable time necessary
14
     for effective preparation by defense counsel, continuity of defense counsel and Title
15
     18 U.S.C. section 3161(h)(7)(B)(iv), of the speedy trial act.
16
           The Status Conference currently set for Monday, May 24, 2010, is vacated,
17
     and the new Status Conference is set for Monday, September 27, 2010, with time
18
     excluded under the Speedy Trial Act from Monday, May 24, 2010, through to and
19
     including Monday, September 27, 2010, for the reasons agreed to and stipulated by
20
     the parties and as stated herein.
21
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
22
     DATED: May 20, 2010.
23
24
25                                         _______________________________________
                                           FRANK C. DAMRELL, JR.
26                                         UNITED STATES DISTRICT JUDGE
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28                                               4
